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 5                                 UNITED STATES DISTRICT COURT
 6                                        DISTRICT OF NEVADA
 7
 8   UNITED STATES OF AMERICA,                     )
                                                   )
 9                   Plaintiff,                    )      2: 13-cr-00417-KJD-GWF
                                                   )
10   vs.                                           )      ORDER
                                                   )
11   NATHAN HERRERA,                               )
                                                   )
12                   Defendants.                   )
                                                   /
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              This matter is before the Court on Defendant Nathan Herrera’s Motion to Withdraw Motion
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     to Dismiss Counsel and Appoint New Counsel for Defendant (#44, 45), filed on December 22,
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     2014.
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              Defendant previously wrote a Letter to the Court asking the Court to dismiss counsel Brian
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     J. Smith due to lack of communication between counsel and client. (#42). Now, Smith represents
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     that he has visited with the Defendant and they have resolved their issues. Mr. Herrera would now
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     like to withdraw his motion to dismiss Mr. Smith and appoint new counsel. The Defendant has
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     shown good cause for withdrawing his motion. Accordingly,
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              IT IS HEREBY ORDERED that Defendant’s Motion to Withdraw Motion to Dismiss
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     Counsel and Appoint New Counsel for Defendant (#44, 45) are granted.
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              DATED this 23rd day of December, 2014.
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                                                   ______________________________________
26                                                 GEORGE FOLEY, JR.
                                                   United States Magistrate Judge
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